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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

JASON MCGEHEE, et al.                                                             PLAINTIFFS

v.                                Case No. 4:17-cv-00179 KGB

ASA HUTCHINSON, et al.                                                          DEFENDANTS

                                             ORDER

       The parties appeared before the Court for a bench trial in this matter from April 23, 2019,

to May 2, 2019. At the close of trial, the parties proposed to submit post-trial briefings to the

Court. Based on informal communications with the Court, the parties have agreed to a briefing

schedule. Accordingly, plaintiffs’ brief may be served and filed on or before May 31, 2019.

Defendants’ response brief may be served and filed on or before July 1, 2019. Plaintiffs’ reply

brief may be served and filed within 14 days after service of defendants’ response brief. The

parties also agree not to extend these briefing deadlines.

       It is so ordered, this the 10th day of May, 2019.



                                                      _______________________________
                                                      Kristine G. Baker
                                                      United States District Judge
